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Counsel for Plaintiff

                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

    JAMES DAWSON,                                   Case No: 2:20-cv-14803-JMV-MF

         Plaintiff,
                                                    NOTICE OF VOLUNTARY DISMISSAL
         v.                                         PURSUANT TO FED. R. CIV. P.
                                                    41(a)(1)(A)(i)
    SUNWORKS, INC., CHARLES F.
    CARGILE, DANIEL GROSS, JUDITH
    HALL, RHONE RESCH, and STANLEY
    SPEER,

         Defendants.


       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff James Dawson hereby voluntarily dismisses the above-captioned action

without prejudice. Defendants have not served an answer or a motion for summary judgment.

Dated: January 19, 2021                           Respectfully submitted,

                                                  HALPER SADEH LLP

                                                  /s/ Zachary Halper
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